896 F.2d 546Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Henry Pendleton HAMM, Jr., Plaintiff-Appellant,v.LANE'S COURT REPORTERS, Defendant-Appellee.
    No. 89-7815.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 27, 1989.Decided:  Feb. 6, 1990.
    
      Henry Pendleton Hamm, Jr., appellant pro se.
      Before MURNAGHAN and WILKINS, Circuit Judges, and HARRISON L. WINTER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Henry Pendleton Hamm, Jr., appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Hamm v. Lane's Court Reporters, C/A No. 89-601-R (E.D.Va. Sept. 27, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    